Entered: June 19, 2012       Case 10-37371    Doc 518    Filed 06/19/12    Page 1 of 3
Signed: June 18, 2012

SO ORDERED




                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF MARYLAND
                                            (Greenbelt Division)

        In re:                                       *

        KH FUNDING COMPANY,                          *      Case No. 10-37371-TC
                                                            (Chapter 11)
                 Debtor.                             *

        *        *       *       *     *      *      *      *       *      *      *      *      *

         ORDER APPROVING FINAL APPLICATION OF GORDON FEINBLATT LLC FOR
             ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND
         REIMBURSEMENT OF EXPENSES INCURRED AS COUNSEL TO THE DEBTOR
        AND DEBTOR-IN-POSSESSION FROM OCTOBER 1, 2011 THROUGH APRIL 30, 2012


                         Upon consideration of the Fourth and Final Application of Gordon Feinblatt LLC
        for Allowance of Compensation for Services Rendered and Reimbursement of Expenses Incurred

        as Counsel to the Debtor and Debtor-in-Possession During the Period October 1, 2011 Through

        April 30, 2012, notice of the Application having been given, and the Court having considered any

        response made thereto, and the Court having found that the compensation requested is reasonable

        and should be allowed; it is




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               ORDERED, that the Application is GRANTED and Gordon Feinblatt LLC

(“Gordon, Feinblatt”) be and is hereby allowed fees in the amount of $326,636.50 for services

rendered during the period October 1, 2011 through April 30, 2012, and it is further

               ORDERED, that the Gordon, Feinblatt is further allowed reimbursement of

expenses posted during the period October 1, 2011 through April 30, 2012 in the amount of

$27,163.72 and it is further

               ORDERED, that the allowances of interim compensation previously authorized

by the Court to Gordon, Feinblatt be and they are ratified and approved as a final allowance of

compensation and reimbursement of expenses.




cc:
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                                       End of Order




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